        Case 2:11-cv-01215-JFC-MPK Document 22 Filed 08/20/13 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

KAREN PIPER,                             )     CIVIL DIVISION
                                         )
                              Plaintiff, )     No: 11-1215
                   v.                    )
                                         )
CITY OF PITTSBURGH; JOHN DOE             )     U.S. District Judge Joy Flowers Conti
NO. 1 of the PITTSBURGH BUREAU of        )     U.S. Magistrate Judge Maureen P. Kelly
POLICE; JOHN DOE NO. 2 of the            )
PITTSBURGH BUREAU of POLICE;             )
JOHN DOE NO. 3 of the PITTSBURGH         )     ELECTRONICALLY FILED
BUREAU of POLICE; JOHN DOE NO. 4 of )
the PITTSBURGH BUREAU of POLICE;         )
and JOHN DOE NO. 5 of the                )     JURY TRIAL DEMANDED
PITTSBURGH BUREAU of POLICE,             )
                                         )
                            Defendants. )

                               ORDER OF COURT



                         WK
         AND NOW, this __________               $XJXVW
                                  day of ____________________________, 2013, upon

consideration of the Stipulation of Dismissal entered by all parties, it is hereby ORDERED,

ADJUDGED and DECREED that this matter is hereby dismissed in its entirety, with prejudice.

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                                          BY THE COURT:



                                          V-R\)ORZHUV&RQWL
                                          ___________________________________
                                          U.S. District Judge Joy Flowers Conti




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